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       ELIZABETH MOORE, individually and
  7    on behalf of all others similarly situated
  8
  9                          UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
 11
 12    ELIZABETH MOORE, on behalf               CASE NO. 2:23-cv-07792-TJH-MRW
       of herself and all others similarly
 13    situated,                                CLASS ACTION
 14                                             NOTICE OF MOTION AND
                       Plaintiff,               MOTION TO REMAND
 15
             v.                                 Hearing Date:      November 6, 2023
 16                                             Time:              Under Submission
       ENTERTAINMENT PARTNERS,                  Judge:             Hon. Terry J. Hatter
 17    LLC, and DOES 1-10,                      Courtroom:         9C
 18                    Defendants.
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  1    TO THE CLERK OF COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
  2    RECORD:
  3          PLEASE TAKE NOTICE that, on November 6, 2023, before the Honorable
  4    Terry J. Hatter in Courtroom 9C of the above-entitled court, located at the First
  5    Street Courthouse, 350 W. 1st Street, 9th Floor, Los Angeles, California 90012,
  6    plaintiff Elizabeth Moore, individually on behalf of all others similarly situated,
  7    will and hereby does move the Court for an order remanding this matter to the
  8    Superior Court of California, County of Los Angeles, and requiring defendant
  9    Entertainment Partners, LLC, to pay all attorneys’ fees and costs incurred in
 10    connection with the motion in the amount of at least $9,500. Pursuant to the
 11    judge’s standing Law and Motion Schedule and procedures, the motion will be
 12    taken under submission as of the scheduled date of the hearing with no appearance
 13    necessary unless otherwise ordered by the Court.
 14          Plaintiff brings this motion pursuant to 28 U.S.C. § 1332, 1441, and 1447 on
 15    grounds that Defendant’s removal of this action from state court was improper
 16    because Defendant has failed to meet the requirements for removal jurisdiction
 17    under the Class Action Fairness Act, 28 U.S.C. § 1332(d). Specifically, Defendant
 18    has failed to prove both the minimum diversity and amount in controversy
 19    requirements. Defendant is a California citizen, as is Plaintiff, and her proposed
 20    class definition is expressly limited to California citizens. Defendant’s assertions
 21    regarding the amount in controversy are entirely speculative. Defendant improperly
 22    relies on inapposite, unpublished cases in support of an argument that the Court
 23    should expand Plaintiff’s complaint beyond its terms and incorporate into the
 24    CAFA analysis the class definitions and allegations of other lawsuits not filed by
 25    Plaintiff. The Court should reject that argument, for the reasons set forth in the
 26    accompanying memorandum.
 27          Moreover, even if Defendant were able to satisfy CAFA’s initial
 28    requirements, the home-state exception of § 1332(d)(4)(B) mandates that the Court
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  1    decline to exercise jurisdiction.
  2          The Court should also reject Defendant’s argument in its notice of removal
  3    that removal in necessary in order to effectuate all cases stemming from the
  4    cybersecurity incident being consolidated into one forum. Defendant has
  5    purposefully chosen not to remove another later-filed state court action.1 That
  6    Defendant would espouse to this Court the need to corral all cases, yet leave out
  7    another state court action, is disingenuous at best and, at worst, a tactic to facilitate
  8    a reverse auction in any later settlement discussions. The Court should reject such
  9    machinations.
 10          Moreover, because Defendant lacked an objectively reasonable basis on
 11    which to remove, Plaintiff is entitled to an award of all attorneys’ fees and costs
 12    incurred in connection with this motion. See Korovilas Decl. ¶ 2.
 13          This motion is based on this notice of motion, the concurrently filed
 14    memorandum of points and authorities, the concurrently filed declaration of
 15    Dimitrios V. Korovilas, the concurrently filed proposed order, all other pleadings
 16    and papers on file in this action, any matters over which the Court may take judicial
 17    notice, and any oral arguments the Court may decide to consider in this matter.
 18          This motion is made following the conference of counsel pursuant to Local
 19    Rule 7-3, which took place on September 26, 2023.
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       Dated: October 9, 2023                    WUCETICH & KOROVILAS LLP
 21
 22
                                                 By:    /s/ Dimitrios V. Korovilas
 23                                                     DIMITRIOS V. KOROVILAS
                                                            Attorneys for Plaintiff
 24                                                       ELIZABETH MOORE,
                                                   individually and on behalf of all others
 25                                                           similarly situated
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       1
        See Hasbrook v. EP Global Production Solutions, LLC, Los Angeles Superior
 28    Court Case No. 23STCV19711 (filed August 17, 2023).
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                                       NOTICE OF MOTION TO REMAND
